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IN THE UNITED STATES DISTRICT COURT ag, Fil
FOR THE WESTERN DISTRICT OF NORTH CAROLINA SWey{ SO
Civil Action No. 1:21-cv-305-MR-WCM My © No
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BROTHER T. HESED-EL, ) My nll, 4
Plaintiff ) ICT og UR
y , ) _ BRIEF IN SUPPORT OF MOTION FOR” *c,
) _ RELIEF UNDER FRCP RULE 60(6)(1)
ROBIN BRYSON, et al., )
)
Defendants. )
INTRODUCTION

As the record will show, the First Amended Complaint includes a claim for ordinary
negligence and medical negligence. In limiting Plaintiff's claims, Judge Reidinger has stringently
construed Plaintiff's complaimt, as opposed to liberal construction. In other cases, the Honorable
Martin Reidinger has said, a “pro se complaint must be construed liberally.” Hardy v. Fnu Steel,
No. 1:22-cv-00242-MR, 2023 U.S. Dist. LEXIS 70523, at *3 (W.D.N.C. Apr. 24, 2023). Why not
in this case? Is Plaintiff not entitled to due process? Is Plaintiff's complaint not a pro se complaint?

BACKGROUND

On November 28, 2023 [Doc. 143], Judge Reidinger entered an Order affirming the
Magistrate’s denial of Plaintiff's motion to amend. To justify his Order, Judge Reidinger stated
that G.S. § 122C-210.1 “applies to bar the ordinary negligence claim Plaintiff wishes to allege.
Accordingly, amendment of Plaintiff's Complaint would be futile[.]” (Doc. 143, p. 3). Judge
Reidinger’s Order was underscored by the Magistrate’s findmg that “Plamtiff’s First Amended
Complaint does not include a claim for ordinary negligence. Doc. 14” (Doc. 138, p. 6).

ARGUMENT

Judge Reidmger’s Order is in error, has prejudiced Plaintiff, and is an example of manifest
injustice. How so? Consider this: (1) Plaintiffs First Amended Complamt contains allegations
sufficient to state a claim for ordinary negligence and medical negligence, a point that Plaintiff

fervently argued during the October 16, 2023 motions hearing. Thus, said negligence claims are

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not a thing Plaintiff wishes to allege, they are a thing entitling Plaintiff to remedy and were alleged
in the First Amended Complaint; and (2) the current version of G.S. § 122C-210.1 should not have
been applied to bar Plaintiff's claims because the statute became effective after the defendants’
liability had accrued. “A statement that a statute will become effective on a certain date does not
even arguably suggest that it has any application to conduct that occurred at an earlier date." Ward
v. Dixie Nat. Life Ins, Co., 595 F.3d 164, 175 (4th Cir. 2010) (internal citations omitted).

The Court Denied Plaintiff's Motion to Amend as if Against a Motion to Dismiss

In affirming the Magistrate’s decision to deny Plaintiffs motion to amend, Judge Reidinger
considered the motion to amend as if against a motion to dismiss. See Perkins v. U.S., 55 F.3d 910,
917 (4th Cir. 1995) (holding that if an amended complaint could not withstand a motion to dismiss,
the motion to amend should be denied as futile). However, Judge Reidinger did not liberally
construe Plaintiff’s complaint, did not uphold all the causes of action present in the complaint, and
did not search the entire record. On these grounds, it is Plaintiffs position that Judge Reidinger’s
Order is erroneous and must be reversed. See Read v. Roofing Co., 234 N.C. 273, 275 (N.C. 1951)
(holding that the rule in this jurisdiction is that as against a [motion to dismiss] a pleading will be
liberally construed in favor of the pleader, and that if in any portion or to any extent the pleading
presents facts sufficient to constitute a cause of action it will be upheld. And a [motion to dismiss]
requires search of the entire record). The record shows that Plaintiff's complaint contains both
ordinary and medical negligence claims. The Court has authority to correct any potential mistakes
of Judge Reidinger under Rule 60(b)(1) and Plaintiff has timely moved to correct those errors.!

Plaintiff is Exercising His Right te Due Process
As explained below, Plaintiff is not asking this court to rewrite his complaint or ignore a

clear failure to allege facts. No, not even close. In this case, Plaintiff has alleged facts which

1 *Tt is not only the right but the duty of the judge who may have committed an
error.,.to correct it as soon as discovered[.]* Gilbert v. James, 86 N.C. 244
(N.C. 1882). “[A] judge's errors of law are indeed "mistakefs]" under Rule
60 (b) (1}.”% Kemp v. United States, 142 8. Ct. 1856, 1860 (2022).

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constitute ordinary and medical negligence claims that are cognizable under federal law. Given
that justice requires this court to “interpret pleadings in favor of the pleader and /ook for legally
cognizable claims within them” Randall v. United States, NO. 5:94-CV-866-D1, 1995 U.S. Dist.
LEXIS 12004, at *1 (E.D.N.C. July 3, 1995) (emphasis added), it is not clear as to why Judge
Reidinger has remained unmovable regarding Plaintiff's ordinary and medical negligence claims.
Especially, when there has been no discussion in the record to indicate that Judge Reidinger ever
took the time to /eok for all the legally cognizable claims within Plaintiff's amended complaint.
Judge Reidinger’s Order Obstructs Plaintiff's Right to Remedy

There should be no doubt as to whether Plaintiff alleged ordinary and medical negligence
claims in the First Amended Complaint. As clearly shown below, the First Amended Complaint
includes sufficient factual matter to state a plausible claim for both causes of action. In reviewing
these proofs, this court inust bear in mind that “a complaint is to be construed liberally so as to do
substantial justice.” Wright v. North Carolina, 787 F.3d 256, 263 (4th Cir. 2015).?

That said, it should be noted that Judge Reidinger’s Order did not cause some hypothetical
injury. His decision to affirm the Magistrate’s rulings, which in effect limits Plaintiff's claims to
only COUNTS II-V, has severely interfered with Plaintiff's ability to recover his damages. This is
super important to recognize because discovery has already borne out evidence of the defendants’
ordinary and medical negligence, but because of Judge Reidinger’s errors of law, Plaintiff has been
precluded from seeking and obtaining a favorable outcome on those claims via summary judgment
or at trial. If it is this court’s stance that justice does not require it to look for all cognizable claims

in the First Amended Complaint, Plaintiff respectfully takes an exception to that stance.”

2 “A claim is facially plausible when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged.” Holloway v. Maryland, 32 F.4th 293, 298 (4th Cir.
2022}. “[I]t nevertheless need only give the defendant fair notice of what the
claim is and the grounds on which it rests.” Martin v. Lowe's Cos,, No. 5:20-
cvV-00015, at *8 (W.D.N.C. Sep. 5, 2020).

3 “Justice can mean.. “the quality or characteristic of being just, impartial,
or fair: FAIRNESS, INTEGRITY, HONESTY." Eklof v. Persson, 369 Or. 531, 539 (Or.
2022) (quotation marks removed and emphasis added).

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An Ordinary Negligence Claim is Included in the First Amended Complaint

“Mission Hospital owed a duty to Plaintiff to...supervise their employees before, during,
and after patient care.” (Doc. 14, | 61).* Mission Hospital failed to...supervise Bryson... to ensure
adequate care of Plaintiff[.]” (Doc. 14, J 30).° “Mission Hospital did not have a policy to protect
patients from violations of rights and injury caused by employees[.]” (Doc. 14, {| 31). “Mission
Hospital's failure to...implement or enforce necessary policy and procedures to ensure patient
safety... led to and caused Plaintiff's injuries.” (Doc. 14, 7 34).° “Mission Hospital breached their
duty owed to Plaintiff by failing to exercise reasonable or ordinary care in safeguarding against
employee negligence[.]” (Doc. 14, J 67). “As a result of the defendants’ actions and omissions,
Plaintiff has suffered loss, physical injuries, emotional and mental pain, and will continue to suffer —
loss in the future.” (Doc. 14, 36).

A Medical Negligence Claim is Included in the First Amended Complaint

“Bryson, an employee of Mission Hospital...owed a duty to Plaintiff to strictly comply
with the requirements of G.S. 122C-263(c) and G.S. 122C-263(g) while he was at Mission
Hospital.” [Doc. 14, p. 4]. “Bryson... and all other hospital staff each owed Plaintiff a duty to
provide medical care no lower than the standard of care.” [Doc. 14, { 47]. “The defendants
negligently breached their duty owed to Plaintiff when they provided medical care that fell below
the standard of care.” [Doc. 14, § 48]. “As a proximate result of the defendants’ negligence,

Plaintiff incurred medical expenses and loss of peace of mind.” [Doc. 14, { 37].

4 This allegation reflects the example of ordinary negligence as discussed in
Blanton, 354 S.E.2d at 458 (failing to “monitor on an ongoing basis the
performance of physicians on its staff").

5 This allegation reflects the example of ordinary negligence as discussed in
Bost, 262 $.E.2d at 397 (“failing to "monitor and oversee . . . treatment.")

6 “iWihen a negligence claim “arises out of policy, management or administrative
decisions," it is "derived from ordinary negligence principlies."” Ailen v. Cnty.
of Granville, 203 N.C. App. 365, 367 (N.C. Ct. App. 2010}

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STANDARD OF REVIEW

“[N]egligence actions brought against hospitals which pertam to clinical patient care sound
in medical malpractice, while such actions which arise out of policy, management, or
administrative decisions sound im ordinary negligence." Littlepaige v. United States, 528 F. App'x
289, 293 (4th Cir. 2013) (internal citation omitted). “Thus, operative facts — not labels —— put
parties on notice of whether they are facing a claim for medical malpractice or for ordinary
negligence. Any trained legal reader would be aware that the [Complaint] could state a claim under

either theory[.]” Wood v. United States, 209 F. Supp. 3d 835, 840-41 (M.D.N.C. 2016).

Elements of Medical Negligence’

Under North Carolina law, the elements of medical negligence are: "(1) the standard of
care, (2) breach of the standard of care, (3) proximate causation, and (4) damages." Turner v. Duke
Univ., 325 N.C. 152, 162 (1989).” Whitener v. Rutherford Cty. Det. Ctr., No. 1:21-cv-00048-MR,
2021 U.S. Dist. LEXIS 179403, at *16 (W.D.N.C. Sep. 21, 2021).

Elements of Ordinary Negligence®
Under North Carolina law, the elements of ordinary negligence are: “(1) a legal duty; (2) a
breach thereof; and (3) injury proximately caused by the breach.” Stein v. Asheville City Bd. of
Educ., 360 N.C. 321 (N.C. 2006). The standard of negligence "is always the conduct of the
reasonably prudent man, or the care which a reasonably prudent man would have used under the

circumstance.” Mathis v. Terra Renewal Servs., Inc., 69 F.4th 236, 243 (4th Cir. 2023).

7 Based on a previous discussion by Judge Reidinger, it seems that “Medical
Negligence” and “Medical Malpractice” are synonymous. See Whitener v. Rutherford
Cty. Det. Ctr., No. 1:21-cv-00048-MR, 2021 U.S, Dist. LEXIS 179403, at *16
(W.D.N.C, Sep. 21, 2021) (discussion where medical malpractice and medical
negligence are used interchangeably under the header “Medical Negligence”).

®@ The NC Supreme Court "has long recognized that hospitals owe a duty of care
to their patients. They must exercise ordinary care in the selection of their
agents, They must make a reasonable effort to monitor and oversee the treatment
their staffs provide to patients." Horton v. Carolina Medicorp, Inc.,344 N.C.
133, 138 (1996) (citations omitted).” Daniels v. Durham Cty. Hosp. Corp., 615
S.E.2d 60, 68 (N.C. Ct. App. 2005).

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North Carolina courts have enumerated a number of areas in which
a hospital's breach of its duty may give rise to a suit for ordinary
negligence, rather than medical malpractice. These include "failmg
to promulgate adequate safety rules relating to the handling, storage,
and administering of medication," Bost v. Riley, 44 N.C. App. 638,
262 S.E.2d 391, 396 (N.C. Ct. App. 1980) (citation omitted),
endorsed in relevant part in Blanton, 354 S.E.2d at 455; "violating a
safety standard which the hospital had purported to follow,"
Blanton, 354 S.E.2d at 458; "failing to follow hospital policies,"
Waters, 547 S.E.2d at 145; failing to "monitor on an ongoing basis
the performance of physicians on its staff," Blanton, 354 S.E.2d at
458; see also Waters, 547 S.E.2d at 145; and failing to "monitor and
oversee . , . treatment." Bost, 262 §.E.2d at 397; see Taylor v.
Vencor, Inc., 136 N.C. App. 528, 525 S.E.2d 201, 203 (N.C, Ct,
App. 2000) (same); Jodice v. United States, 289 F.3d 270, 276-77
(4th Cir. 2002).

POINTS OF AUTHORITY

Plaintiff should not be held to the same stringent requirements as would an attorney, Haines
y. Kerner, 404 US 519 (1972). “The Fourth Circuit requires district courts to construe pro se
complaints liberally to ensure that valid claims do not fail merely for lack of legal specificity.
Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir, 1978).” Long v. Bunda, No. 3:12CV488-GCM,
2012 U.S. Dist. LEXIS 154697, at *4 (W.D.N.C. Oct. 29, 2012). “Federal pleading requires that a
coinplaint give defendants fair notice of what the plaintiff's claim is and the grounds upon which
it rests.” Cook v. Howard, 484 Fed. Appx. 805, 826 (4 Cir. 2012).

SUMMARY OF ARGUMENT

On November 28, 2023, the Honorable Martin Reidinger overlooked Plaintiff's ordinary
and medical negligence claims. If and when he does look for all cognizable claims in the First
Amended Complaint, as is required under North Carolina jurisprudence and this circuit’s federal
standard, he will find those plausible claims, as cited above, with sufficient facts in support. Thus,
as explained above, it is Plaintiffs position that Judge Reidinger’s decision to affirm the

Magistrate’s denial of leave to amend constitutes an error of law.

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Afforded due process, and given liberal construction of the First Amended Complaint in
his favor, Plaintiff should be allowed to proceed on the following causes of action: (1} gross
negligence/willful and wanton conduct against Bryson; (2) negligent mfliction of emotional
distress against Bryson; (3) negligent supervision and/or training against Mission Hospital; (4)
respondeat superior against Mission Hospital; (5) medical negligence against Bryson and Mission
Hospital; and (6) ordinary negligence against Bryson and Mission Hospital.

WITHDRAWAL OF CONCESSION

Lf Plaintiff conceded that the 2019 version of Gen. Stat. § 122C-210.1 would bar his claim
for ordinary negligence, that concession was made in error and is hereby withdrawn.” Under the
2016 version of G.S. § 122C-210.1 and its 2019 amendment, Plaintiff's First Amended Complaint
states plausible claims for ordinary and medical negligence. A simple review of the record

unequivocally proves that both claims were present in the First Amended Complaint.

CONCLUSION

Plaintiff's plausible negligence claims have been precluded from this action based on errors
of law, leaving this Rule 60(b)(1) motion as the last viable remedy before appeal. Any Order m
response to this motion that fails to reverse the errors is tantamount to interpreting or construing

the First Amended Complaint im a light favorable to the defendants.!”

Respectfully, this 27" day of Sha’ban in the year 1445 A.H.

Bro. T, Hesed-E}, Plaintiff pro se

c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3@gmail.com

9 See Docs. 113 at 3; 133 at 2. “North Carolina does permit a proper plaintiff
to bring ordinary negligence claims, in addition to medical malpractice claims,
against a health care provider.” Iodice v. United States, 289 F.3d 270, 276
{4th Cir. 2002).

10 The defendants stated during the parties’ October 16, 2023 motion hearing
that they are trying to resolve this case as cheaply as possible. By limiting
Plaintiff's claims, Judge Reidinger has granted the defendants’ wish.

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CERTIFICATE OF SERVICE

This certifies that a true and correct copy of this BRIEF INSUPPORT OF MOTION FOR
RELIEF UNDER FRCP RULE 60(b)(1) has been sealed in an envelope with sufficient postage
affixed thereon, and deposited into the exclusive custody of the United States Post Office, to ensure
delivery to:

Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVEN, P.A.

Post Office Box 7647

Asheville, North Carolina 28802
dwalsh@roberts-steven.com

This 8"" day of March in the Gregorian year 2024.

[af Brother T. Nesed-(b, AE
Bro, T. Hesed-E], Plaintiff pro se

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